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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                        FORT LAUDERDALE DIVISION


  EDWARD-MARCUS GRIFFIN,

                    Plaintiff,                   CASE NO:0:19-CV-63111-MGC

        vs.

  ACCOUNT RESOLUTION SERVICES,

                   Defendant.



                            JOINT SCHEDULING REPORT

        Pursuant to Rule 16.1(b) of the Local Rules for the Southern District of

  Florida, the undersigned parties met on November 18, 2020 by telephone and

  hereby submit this Joint Scheduling Report.

  Information required by S.D. Fla. L.R. 16.1(b)

     a) The likelihood of settlement;

        The parties agree settlement is likely.

     b) The likelihood of appearance in the action of additional parties;

        The parties agree that the appearance of additional parties is unlikely.

     c) Proposed limits on the time:

              a. To join other parties and to amend the pleadings;

                 January 18, 2021
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           b. To file and hear motions; and

              April 29, 2021

           c. To complete discovery.

              April 8, 2021

     d) Proposals for the formulation and simplification of issues, including the

        elimination of frivolous claims or defenses, and the number and timing of

        motions for summary judgment or partial summary judgment;

        The parties do not have any proposals at this time.

     e) The necessity or desirability of amendments to the pleadings;

        The parties do not anticipate any amendments to the pleadings.

     f) The possibility of obtaining admissions of fact and of documents,

        electronically stored information or things which will avoid unnecessary

        proof, stipulations regarding authenticity of documents, electronically stored

        information or things, and the need for advance rulings from the Court on

        admissibility of evidence;

        The parties will work to obtain admissions that will avoid unnecessary

        proof at trial.

     g) Suggestions for the avoidance of unnecessary proof and of cumulative

        evidence;
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        The parties will work to obtain admissions that will avoid unnecessary

        proof and presentation of cumulative evidence at trial.

     h) Suggestions on the advisability of referring matters to a Magistrate Judge or

        master;

        The parties do not consent to trial by a Magistrate Judge.

     i) A preliminary estimate of the time required for trial;

        1-2 days

     j) Requested date or dates for conferences before trial, a final pretrial

        conference, and trial;

        The parties request a final pretrial conference to be held on June 28,

        2021 and a trial date of July 19, 2021.

     k) Any issues about:

           a. Disclosure, discovery, or preservation of electronically stored

               information, including the form or forms in which it should be

               produced;

               None.

           b. Claims of privilege or of protection as trial-preparation materials,

               including – if the parties agree on a procedure to assert those claims

               after production – whether to ask the court to include their agreement

               in an order under Federal Rule of Evidence 502; and
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               None.

            c. When the parties have agreed to use the ESI Checklist available on the

               Court’s website (www.flsd.uscourts.gov), matters enumerated on the

               ESI Checklist; and

               None.

     l) Any other information that might be helpful to the Court in setting the case

        for status or pretrial conference.

        The parties are currently unaware of any other information that might

        be helpful to the Court in setting the case for status or pretrial

        conference.


  DATED: November 20, 2020


   /s/ By: Mitchell L. Fraley                /s/ Ernest H. Kohlmyer, III
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA
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  EDWARD-MARCUS GRIFFIN,

                   Plaintiff,                  CASE NO:0:19-CV-63111-MGC

        vs.

  ACCOUNT RESOLUTION SERVICES,

                  Defendant.



                    JOINT PROPOSED SCHEDULING ORDER
       The Court, after considering the matters discussed in the parties’ Joint
  Scheduling Report, finds that good cause exists for entry of this Joint Proposed
  Scheduling Order.
  A.    This matter is assigned to the track pursuant to Local Rule 16.1(a)(2)(A).
  B.    Discovery schedule
   Action                                                        Date
   Parties will file Initial Disclosures                         November 26,
                                                                 2020
   Parties will issue written discovery                          January 18, 2021
   Fact discovery cut off                                        February 18, 2021
   Exchange of expert reports                                    March 18, 2021
   Exchange of expert rebuttal reports                           Aril 1, 2021
   Expert discovery cut off                                      April 8, 2021
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   Close of discovery                                          April 8, 2021


  C.    The deadline to join parties and to amend pleadings is January 18, 2021.
  D.    The deadline to file all pretrial motions is _____.
  E.    The Court will resolve all pretrial motions by ____.
  F.    A pretrial conference will be held on _____.
  G.    A trial in this matter will be held on ______.


       DONE AND ORDERED in Chambers at Miami, Florida, this __th day of
  ______, 2020.


                                                ____________________________
                                                Judge Patrick M. Hunt
